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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
              vs.                               )                 8:06CR23
                                                )
JEREMY TORPY,                                   )                 ORDER
                                                )
                     Defendant.                 )




        Before the Court is defendant’s Motion to Reopen Detention [27]. I find that Pretrial
Services should investigate the defendant’s proposed release plan and provide the Court with a
report on or before March 15, 2006.

       IT IS SO ORDERED.

       DATED this 3rd day of March, 2006.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
